3:17-cv-03112-JES-JEH # 180   Filed: 12/17/19   Page 1 of 4
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3:17-cv-03112-JES-JEH # 180   Filed: 12/17/19   Page 2 of 4
3:17-cv-03112-JES-JEH # 180   Filed: 12/17/19   Page 3 of 4
            3:17-cv-03112-JES-JEH # 180    Filed: 12/17/19   Page 4 of 4




                                          s/ Juror
s/ Presiding Juror

                                          s/ Juror
s/ Juror


s/ Juror
                                           s/ Juror

s/ Juror                                   s/ Juror
